











Opinion issued December 1, 2005&nbsp;












In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00975-CR
____________

IN RE EDDIE E. BREWER





Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Eddie E. Brewer, requests that this Court compel the Honorable George
Godwin


 to provide him with a free copy of the clerk’s records and reporter’s records
in case number 693573 in which relator was convicted of  burglary.  We deny the
petition for writ of mandamus.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Alcala and Bland.


